
Smith, J.
— '• These statements by the clerk, so far, at least, as they purport to disclose, the grounds upon, which the Court acted in dismissing the appeal, are not legitimate]}7' a part of the record, and cannot be regarded. Blany v. Findlay, 2 Blackf. 338; Wilson v. Coles, id. 402; Ross v. Misner, 3 id. 362; Richardson v. St. Joseph's Iron Co., 5 id. 149. We are, therefore, only informed that the, Circuit Court dismissed the appeal, and as there is no bill of exceptions showing the reasons of the Court for so doing, they must be presumed to have been sufficient.”
Judgment affirmed, &amp;c„
